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                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION



 NETLIST, INC.                                           Civil Case No. 2:21cv463-JRG

                Plaintiff,                               JURY TRIAL DEMANDED

 v.

 SAMSUNG ELECTRONICS CO., LTD.,
 SAMSUNG ELECTRONICS AMERICA, INC.
 and SAMSUNG SEMICONDUCTOR, INC.,

                Defendants.


                                  NOTICE OF COMPLIANCE


       Pursuant to the Court’s June 6, 2022 Docket Control Order (Dkt. No. 34) and Local

Patent Rules 3-3 and 3-4, Defendants Samsung Electronics Co., Ltd., Samsung Electronics

America, Inc. and Samsung Semiconductor, Inc., (collectively, “Defendants”) hereby notify the

Court that they served their Invalidity Contentions via electronic mail to counsel for Plaintiff.


Date: July 13, 2022                            Respectfully submitted,

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                                   Samsung Semiconductor, Inc.




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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was filed

electronically in compliance with Local Rule CV-5 on July 13, 2022. As of this date, all counsel

of record have consented to electronic service and are being served with a copy of this document

through the Court’s CM/ECF system under Local Rule CV-5(a)(3)(A).



                                                    /s/ Tony Nguyen




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